                                                       Entered on Docket
                                                       May 10, 2019
                                                       EDWARD J. EMMONS, CLERK
                                                       U.S. BANKRUPTCY COURT
                                                       NORTHERN DISTRICT OF CALIFORNIA
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13   Attorneys for Debtors
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14                               UNITED STATES BANKRUPTCY COURT
15                               NORTHERN DISTRICT OF CALIFORNIA
                                         SAN FRANCISCO DIVISION
16   In re:                                       Bankruptcy Case
                                                  No. 19-30088 (DM)
17   PG&E CORPORATION,
                                                     Chapter 11
18            - and –
                                                     (Lead Case)
19   PACIFIC GAS AND ELECTRIC
     COMPANY,                                        (Jointly Administered)
20
                                  Debtors.
21                                                 ORDER AUTHORIZING DEBTORS TO
     Affects PG&E Corporation                    PAY THE FEES AND EXPENSES OF
22   Affects Pacific Gas and Electric Company SIMPSON THACHER & BARTLETT LLP
     Affects both Debtors                        PURSUANT TO 11 U.S.C. § 327(e) AS
23                                                 COUNSEL TO THE BOARD OF
     * All papers shall be filed in the Lead Case, DIRECTORS OF EACH OF PG&E
24   No. 19-30088 (DM).                            CORPORATION AND PACIFIC GAS AND
                                                   ELECTRIC COMPANY AND PURSUANT
25                                                 TO 11 U.S.C. § 363 AS COUNSEL TO
                                                   CERTAIN CURRENT AND FORMER
26                                                 INDEPENDENT DIRECTORS
27

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 1            Upon the Motion, dated April 2, 2019 (the “Motion”)1 of PG&E Corporation (“PG&E Corp.”)

 2   and Pacific Gas and Electric Company (the “Utility”), as debtors and debtors in possession (collectively,

 3   “PG&E” or the “Debtors”) in the above-captioned chapter 11 cases (the “Chapter 11 Cases”),

 4   pursuant to section 363(b) of title 11 of the United States Code (the “Bankruptcy Code”), for

 5   authorization to pay the reasonable fees and expenses of Simpson Thacher & Bartlett LLP (“Simpson

 6   Thacher”) as counsel to the Board of Directors (the “Board”) of each of PG&E Corporation and Pacific

 7   Gas and Electric Company and as counsel to certain current and former Independent Directors (as

 8   defined below), pursuant to the terms set forth in the Motion and the Supplemental Declaration of

 9   Michael H. Torkin in Support of the Motion Pursuant to 11 U.S.C. § 363(b) Authorizing Debtors to Pay

10   the Fees and Expenses of Simpson Thacher & Bartlett LLP as Counsel to the Independent Directors of

11   PG&E (As Modified as Described Herein) (the “Supplemental STB Declaration”); and upon

12   consideration of the Declaration of Michael H. Torkin in Support of the Motion Pursuant to 11 U.S.C.

13   § 363(b) Authorizing Debtors to Pay the Fees and Expenses of Simpson Thacher & Bartlett LLP as

14   Counsel to the Independent Directors of PG&E Corp. (the “Torkin Declaration”), the Supplemental

15   Declaration and the Declaration of Nora Mead Brownell in Support of the Motion Pursuant to 11 U.S.C.

16   § 363(b) Authorizing Debtors to Pay the Fees and Expenses of Simpson Thacher & Bartlett LLP as

17   Counsel to the Independent Directors of PG&E (As Modified as Described in the Supplemental STB

18   Declaration) (the “Brownell Declaration”); and upon the request of the Office of the U.S. Trustee that

19   Simpson Thacher be retained as counsel for the Board pursuant to 11 U.S.C. § 327(e); and this Court

20   having jurisdiction to consider the Motion and the relief requested therein pursuant to 28 U.S.C. §§ 157

21   and 1334, and the Order Referring Bankruptcy Cases and Proceedings to Bankruptcy Judges, General

22   Order 24 and Rule 5011-1(a) of the Bankruptcy Local Rules for the United States District Court for the

23   Northern District of California (the "Bankruptcy Local Rules"); and consideration of the Motion and

24   the relief requested therein being a core proceeding pursuant to 28 U.S.C. § 157(b); and venue being

25   proper before this Court pursuant to 28 U.S.C. §§ 1408 and 1409; and due and proper notice of the

26   Motion having been provided to the parties listed therein, and it appearing that no other or further notice

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28       Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to such
          terms in the Motion.


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 1   need be provided; and this Court having reviewed the Motion, the Torkin Declaration, the Supplemental

 2   STB Declaration and the Brownell Declaration; and a hearing having been noticed to consider the relief

 3   requested in the Motion (the “Hearing”); and upon the record of the Hearing (if any was held) and all

 4   of the proceedings had before the Court; and the Court having found and determined that the relief

 5   sought in the Motion is in the best interests of the Debtors, their estates, creditors, shareholders and all

 6   parties in interest; and that the legal and factual bases set forth in the Motion establish just cause for the

 7   relief granted herein; and after due deliberation and sufficient cause appearing therefor,

 8                   IT IS HEREBY ORDERED THAT:

 9                   1.      The Motion is granted as provided herein.

10                   2.      Pursuant to the terms of this Order and effective as of the Petition Date, the

11   Debtors are authorized (i) pursuant to section 327(e) of the Bankruptcy Code, to pay reasonable fees

12   and compensation to, and reimburse reasonable and necessary expenses of, Simpson Thacher as counsel

13   to the Board, as it may be constituted from time to time, and to the members of the Board from time to

14   time in their capacities as members of the Board (the “Board Representation”), and (ii) pursuant to

15   section 363 of the Bankruptcy Code, to pay reasonable fees and compensation to, and reimburse

16   reasonable and necessary expenses of, Simpson Thacher as counsel to certain current and former

17   independent directors in their individual capacities who serve or served as independent directors prior

18   to and/or as of the Filing Date (each an “Independent Director” and collectively, the “Independent

19   Directors”) (the “Independent Director Representation”).

20                   3.      Subject to the Court’s approval, the Debtors shall pay the reasonable fees of, and

21   reasonable and necessary expenses incurred by, Simpson Thacher (A) in the Board Representation with

22   respect to (i) all matters related to corporate governance, and (ii) other related matters and (B) in the

23   Independent Director Representation with respect to (i) representation in ongoing litigation and

24   regulatory inquiries, including matters involving the California Public Utilities Commission, (ii) fact-

25   gathering, and (iii) related matters.

26                   4.      With respect to both the Board Representation and the Independent Director

27   Representation, Simpson Thacher shall apply for compensation and reimbursement of expenses in

28   compliance with the Order Pursuant to 11 U.S.C. §§ 331 and 105(a) and Fed. R. Bankr. P. 2016 for



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 1   Authority to Establish Procedures for Interim Compensation and Reimbursement of Expenses for

 2   Professionals (the “Interim Compensation Order”) [Docket No. 701], applicable provisions of the

 3   Bankruptcy Code, the Bankruptcy Rules, the Local Bankruptcy Rules, and any other applicable

 4   procedures and orders of the Court.

 5                  5.      In connection with any increases in Simpson Thacher’s rates, Simpson Thacher

 6   shall provide reasonable notice to the Debtors, the Official Committee of Unsecured Creditors (the

 7   “Committee”), the Official Committee of Tort Claimants (the “TCC” and together with the Committee,

 8   the “Committees”) and the U.S. Trustee. The notice shall certify that the Debtors have consented to

 9   the requested rate increases.

10                  6.      Nothing contained herein shall prejudice, in any way, the right of any current or

11   former member of the Board of Directors of either Debtor, including any Independent Director, from

12   seeking and obtaining indemnification, advancement, reimbursement or other coverage under any

13   insurance policies, including D&O policies, related to such director’s service on the Board of Directors

14   of either Debtor or from filing a proof of claim against either Debtor.

15                  7.      Notice of the Motion as provided therein is deemed good and sufficient notice of

16   the Motion.

17                  8.      This Order shall only apply to the retention of Simpson Thacher, and the retention

18   of any additional counsel by the Debtors or any other party on behalf of the Independent Directors shall

19   be the subject of an additional retention application filed in accordance with the Order Implementing

20   Certain Notice and Case Management Procedures [Docket no. 759]. The Committee reserves all rights

21   with respect to any such additional application.

22                  9.      This Court shall retain jurisdiction to hear and determine all matters arising from

23   or relating to the implementation, interpretation, or enforcement of this Order.

24
                                             ** END OF ORDER **
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